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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

[ASA [iP
“ Plaintiff(s), CALENDAR NOTICE

" — 2p er Sih wea)
Chadha

Defendant(s).

 

 

 

 

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PLEASE TAKE NOTICE that the above-captioned case has been sehaduled/.

re-scheduled_for:

Jv Status conference C Plea) ____ Final pretrial conference
____ Telephone conference ____ Jury selection and trial
___ Pre-motion conference ____ Bench trial

___ Settlement conference ____ Suppression hearing
____ Oral argument , ___ Plea hearing

____ Bench ruling on motion ___ Sentencing

on 4f- 22 -~20Z] , at 2? “SQ P= in Courtroom 620, United States

Courthouse, 300 Quarropas Street, White Plains, NY 10601. Adjourned from_\-2 $-2|
All requests for adjournments or extensions of time must be in writing and

filed on ECF as letter-motions, in accordance with paragraph 1(F) of the Court's

Individual Practices. Absent special circumstances, such requests shall be made at

least two business days prior to the scheduled appearance.

Dated: [- [I “__, 20 2}
White Plains, NY

 

SO ORDERED:

 

Vincent £ Briccetti
United States District Judge
